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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 MAMAS & PAPAS (HOLDINGS) LTD.,

         Plaintiff,                                              Case No.: 1:19-cv-02791

 v.                                                              Judge Elaine E. Bucklo
                                                                 Magistrate Judge M. David Weisman
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 66                               Chinese Department store


DATED: August 5, 2019                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
                                                     Telephone: 708-203-4787
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02791 Document #: 42 Filed: 08/05/19 Page 2 of 2 PageID #:929




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 5, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
